                   Case 1:25-bk-10270        Doc 57 Filed 07/02/25 Entered 07/02/25 16:10:15                 Desc
                                                 Hearing Notice Page 1 of 1
                                             UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF RHODE ISLAND


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         In Re: Tallulah's Taqueria, LLC                   BK No. 1:25−bk−10270
         Debtor(s)                                         Chapter 11

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                                                  NOTICE OF COURT HEARING



        Please be advised that a hearing will be held on 7/23/25 at 10:00 AM at: U.S. Bankruptcy Court, 380 Westminster
        Street, Providence, RI 02903 to consider and act upon the following:

        RE: [55] Motion to Dismiss or Convert to Chapter 7 filed by Assistant U.S. Trustee Sandra Nicholls
        [56] Objection filed by Trustee Joseph M. DiOrio

        Please consult local rule 5072−1 for appropriate courtroom decorum for all hearings.

        If a party wishes to use courtroom technology to present evidence, please contact
        the courtroom deputy at (401) 626−3136 in advance of the hearing to arrange for
        training.




                                                             Date: 7/2/25
        Entered on Docket: 7/2/25
        Document Number: 57 − 55, 56
        500.jsp




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